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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

        COALITION FOR GOOD
       GOVERNANCE and DONNA                     Civil Action No. 5:23-mc-00001-
             CURLING,                                      LGW-BWC
                 Plaintiffs,                     In RE Subpoenas issued by the
                                                   United States District Court
                     v.                            For the Northern District of
                                                   Georgia, Atlanta Division,
    COFFEE COUNTY BOARD OF                       Civil Action File No. 1:17-CV-
  ELECTIONS AND REGISTRATION,                               2989-AT

                 Defendant.

PLAINTIFF COALITION FOR GOOD GOVERNANCE SUPPLEMENTAL
         BRIEF REGARDING MOTION FOR SANCTIONS

      The breaches of the statewide voting system via Coffee County are some of

the most serious and dangerous election security events in our nation’s history.

Because of the misguided criminal conduct of certain elections officials in Coffee

County, all aspects of the sensitive inner workings of Georgia’s voting system have

been copied and shared online with numerous unauthorized actors, substantially

elevating the vulnerabilities of the system to malevolent manipulations.

      But for the efforts of the lawyers and election security experts assembled for

the Curling litigation, there would be no accountability for the Coffee County

breaches. CCBOER and its counsel were only interested in covering up what had




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occurred. State and local law enforcement did not undertake to investigate the

breaches until the Curling Plaintiffs had exposed the issue.1

      Although the Secretary of State and the State Election Board bear

responsibility to investigate and report violations of elections law to the State

Attorney General, at the trial of the Curling case, the Secretary of State’s investigator

who opened the Coffee County breach case testified he was told by senior officials

to “hold off” on investigating Coffee County breaches. He further testified that, to

this day, he knows of no investigations by the Secretary of State’s office or the State

Election Board into the breaches. (Exh. 2 Tr.234:3-25) Plainly, there was little

appetite among election officials for exposure or accountability.

      Law enforcement’s interest in the breaches appears to have been triggered

only after the national press reported on the discoveries made in the Curling case.

Springboarding off the evidence obtained by the Curling plaintiffs, on August 14,

2023, the Fulton County District Attorney’s office issued indictments for nineteen

defendants.2


1
  The GBI appears to have relied extensively on Curling discovery in its
investigation. Indeed, the GBI’s September 2023 report references findings from 11
of the thirteen Coffee-related depositions taken in Curling, and in conducting follow-
up interviews, the GBI appears to have heavily relied upon depositions and
discovery documents exposed by the Curling discovery. (Exhibit 1)
2
  CCBOER has reported that it has received no inquiries directly from the Fulton
County DA’s office, indicating that the Coffee County breach defendants are being
prosecuted largely, if not exclusively, based upon evidence derived from the Curling
discovery process. In fact, the indictment mentions the Coffee breaches 52 times.
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      Plainly, the public interest in the disclosure of the Coffee County breaches is

compelling and undeniable. Yet, CCBOER officials and their counsel used every

artifice, device and trick to obstruct, delay, and complicate discovery related to these

events. As a consequence, discovery was made far more time-consuming and

expensive, and, in some cases, prevented entirely. Candidly, Plaintiff CGG has

struggled to precisely quantify the s direct impact of this discovery misconduct. In

calculating the additional ost and caused by the misconduct, certain assumptions had

to be made about how discovery would have proceeded had CCBOER and HBS

complied with their legal obligations to timely and completely respond to the

Plaintiffs’ subpoenas. (Docs. 1-1, 1-2) What should also be considered is the less

than candid and ill-informed testimony from the CCBOER’s 30(b)(6) witness on

which Plaintiffs were forced to rely. (Exh. 6 at ¶1; Doc.60-4 ¶9) Plaintiff provides

the supplemental information as summarized here, seeking to invoke the Court’s

discretion and powers to compensate Plaintiff for costs incurred and to deter future

misconduct by those actors who egregiously abused the process in this case.

          Significantly Revised Discovery Plan Would Have Resulted

      Plaintiff’s requests for the security videos that recorded the breaches began

with Open Records Requests in early March 2022 and were later requested in the

Curling subpoena on June 15, 2022 (Doc. 1-2 at 15) and repeated in the CGG




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subpoena on July 25, 2022. 3 (Doc. 1-1 ¶¶ 4,6-10) If the video records, relevant

emails, and associated documents had been timely produced by June 30, 2022, the

sequence of Coffee-related depositions would likely have been significantly revised

(Exh. 5), and some depositions likely not taken. (Doc. 60-8, Brown Decl. ¶ 9)

      For example, interior office video recordings, which disclosed the individuals’

engaged in the breach activities, were not produced until September 17, 2022. By

then seven depositions had been taken, including the CCBOER Rule 30(b)(6)

deposition, without the benefit of this highly relevant and essential evidence.

(Doc.60 at 4) Election Supervisor Misty Hampton’s responsive breach-related

emails were not produced when subpoenaed in June 2022, but only unearthed in

significant forensic efforts by CGG’s expert in late November 2023 after court

intervention to permit Plaintiffs to obtain the image of the CCBOER desktop

computer from the GBI. (Doc. 60-2, Skoglund Decl. ¶ 5)

      Also materially impairing the discovery process and prejudicing Plaintiffs was

CCBOER and HBS’s withholding of relevant communications of its former election

directors related to election security and the breaches. There was no claim that the

communications were lost or deleted; they were confirmed to have been “archived”

on the county server. They were simply withheld.             Plaintiffs located the


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  Curling Plaintiffs and Coalition Plaintiffs as co-plaintiffs in Curling v.
Raffensperger jointly conducted all discovery and cooperated in drafting all
discovery requests and subpoenas, and shared all documents produced.
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communications from other sources long after the relevant depositions were taken

and months after discovery closed.

      As explained in the Motion (Doc. 60 at 7-9), CCBOER never produced certain

responsive documents from CCBOER’s desktop computer used by at least three

successive election supervisors, Hampton, Barnes and Roberts. More than sixteen

months after the documents should have been produced, Plaintiff received a forensic

copy of the drive from the GBI. To locate responsive documents on the drive,

Plaintiff’s technical experts and lawyers had to spend many hours retrieving the

documents while ensuring non-responsive and privileged documents on the drive

were segregated from responsive documents. (Brown Supp. Decl. ¶ 7). This

additional work would have been unnecessary had CCBOER searched its desktop

and county archived files for responsive documents and timely produced them.

      As explained in his February 20, 2024, Declaration (Doc. 60-2), Plaintiff’s

expert Kevin Skoglund spent at least 58 hours locating responsive documents on the

GBI disk and segregating them from nonresponsive and privileged documents. As

explained in his Supplemental Declaration, Mr. Brown spent an additional 5.9 hours

working with the technical experts to develop and implement protocols for the

appropriate search and retrieval of the documents. (Brown Supp. Decl. ¶ 8).

      From August 2022 through 2023, Plaintiff’s counsel had to continue

communicating with CCBOER’s counsel in an effort to secure compliance with the


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subpoenas. As explained in his Supplemental Declaration, Mr. Brown spent an

additional 11.8 hours on this effort. (Brown Supp. Decl. ¶¶ 5, 6). Corrections of

errors in the original Motion for Sanctions (Doc. 60) are listed in Exhibit 6 hereto.

              Identified Incremental Discovery Fees and Expenses

      The following discovery efforts would likely not have been undertaken absent

the prejudice caused by CCBOER and HBS’s misconduct: (i) four depositions, (Decl.

Brown Doc. 60-8, ¶9), (ii) time required for acquiring, securing and organizing

discovery on the GBI image of the CCBOER desktop to obtain responsive election

supervisor emails, (iii) efforts to obtain from Mr. Chaney improperly withheld (or

spoliated) documents, and (iv) efforts associated with the Motion to Compel and this

Motion would likely not have been required. Plaintiffs have undertaken to identify

the attorney, expert, and litigation support team time associated with discrete

activities caused by the prejudice to plaintiffs. The time and expenses are

summarized as follows:

Bruce P. Brown (Decl. Doc. 60-8, 69 ¶ 8) $38,250
Brown Supplemental Decl. Exh. 7= $11,062.50.
Cary Ichter (Decl. Doc 60-9) $77,333.83
Kevin Skoglund (Decl Exh 8)= $46,347.78
Susan Greenhalgh (Exh 9 at ¶ 8) )= $1,575
Marilyn Marks (Decl. Exh 10) = $ 26,250
Total $200,819.10

Fees and Expenses Associated with Coffee Breach Baseline Discovery Efforts




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      The prejudice to Plaintiffs’ discovery efforts and the harm to the public cannot

be scientifically quantified. Certain CCBOER officials knew of or participated in

the breaches, while others, including HBS, had documents disclosing the security

failures, and were obligated as officials and officers of the court to cooperate with

civil litigation discovery efforts. Plaintiffs have provided a summary of time and

expenses of Coffee County breach-related discovery efforts. (Exh 11).

                                    Conclusion

      Plaintiff CGG respectfully requests the Court to grant compensatory sanctions

totaling $200,819.10 for discovery that would likely not have been required absent

CCBOER’s and HBS’s discovery misconduct. Plaintiff further requests the Court to

grant sanctions of no less than $300,000 to deter CCBOER and HBS from future

misconduct.

      Respectfully submitted this 4th day of March 2024.
/s/ Bruce P. Brown                            /s/ William Daniel Davis
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 4, 2024, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Cary Ichter
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